Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 1 of 64




            EXHIBIT 2
      Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 2 of 64




                          TABLE OF CONTENTS

           Subject                                                  Page

I.    GENERAL PROVISIONS

      A.   POLICY     ........................................ 1
      B.   DEFINITIONS........................................ 2

II.   RESPONSIBILITIES AND AUTHORITIES

      A.   THE   ATTORNEY GENERAL...............................         4
      B.   THE   DEPUTY ATTORNEY GENERAL........................         4
      C.   THE   DIRECTOR OF THE FBI............................         4
      D.   THE   SES BOARD......................................         4
      E.   THE   PERFORMANCE REVIEW BOARD(PRB)                           4
      F.   THE   ADMINISTRATIVE SERVICES DIVISION..                      4

III. ADMINISTRATION

      A.   THE SES BOARD                                                 5
      B.   THE PERFORMANCE REVIEW BOARD . . .                            6

IV.   STAFFING

      A.   MERIT PRINCIPLES                                              7
      B.   CAREER APPOINTMENTS                                           7
      C.   LIMITED TERM/LIMITED EMERGENCY APPOINTMENTS                   8
      D.   REINSTATEMENT                                                 9

V.    REMOVAL AND ADVERSE ACTION

      A.   GENERAL                                                       10
      B.   ACTIONS TAKEN DURING PROBATIONARY PERIOD                      10
      C.   ACTIONS TAKEN AFTER COMPLETION OF
            PROBATIONARY PERIOD                                          11
      D.   ACTIONS TAKEN AGAINST
            LIMITED TERM/EMERGENCY APPOINTEES                            15
      E.   GUARANTEED PLACEMENT OUTSIDE THE SES                          15
      F.   GUARANTEED ANNUITY                                            17

VI.   PERFORMANCE APPRAISAL

      A.   GENERAL INFORMATION                                           18
      B.   PERFORMANCE APPRAISAL FOR THE SES                             28
          Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 3 of 64




          C.        ACTIONS BASED ON LESS THAN FS PERFORMANCE                38
          D.        ESTABLISHMENT OF DOJ PERFORMANCE REVIEW BOARDS           42

(Revised 11/2004)



VII. PAY FOR THE SENIOR EXECUTIVE SERVICE

          A.        SALARY LEVELS                                            26
          B.        SETTING INDIVIDUAL PAY RATES                             26
          C.        AWARDS                                                   27
          D.        LIMITATION ON SALARY                                     29

VIII.          EXECUTIVE DEVELOPMENT

          A.        EXECUTIVE DEVELOPMENT PROGRAM                            30
          B.        SABBATICALS                                              30


IX. MISCELLANEOUS PROVISIONS

          A.        TRAVEL EXPENSES                                    32
          B.        ANNUAL LEAVE                                       32
          C.        LAST MOVE HOME EXPENSES                            32
          D.        FURLOUGHS                                          32
          E.        TRAINING                                           34
          F.        REPORTS AND EVALUATION                             34
          G.        EXTENSION BEYOND MANDATORY RETIREMENT. . . . . . . 34
          H.        RECORDS. . . . . . . . . . . . . . . . . . . . . . 34

                            CHAPTER I.   GENERAL PROVISIONS


A.          POLICY. Public Law 100-325 authorized the Attorney
            General to establish a Senior Executive Service (SES) for
            the FBI to include designated managerial and supervisory
            positions. It is the policy of the FBI to administer its
            SES so as to:

      ● provide for a compensation system, including salaries,
benefits, and incentives, and for other conditions of
employment, designed to attract and retain highly competent
senior executives;

      ● ensure that compensation, retention, and tenure are
contingent on executive success which is measured on the basis
of individual and organizational performance (including such
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 4 of 64




factors as improvements in efficiency, productivity, quality of
work or service; cost efficiency, and timeliness of performance
and success in meeting equal employment opportunity goals);

      ● assure that senior executives are accountable and
responsible for the effectiveness and productivity of employees
under them;

      ● recognize exceptional accomplishment;

      ● enable the head of an agency to reassign senior
executives to best accomplish the agency's mission;

      ● provide for severance pay, early retirement, and
replacement assistance for senior executives who are removed
from the Senior Executive Service for nondisciplinary reasons;

      ● protect senior executives from arbitrary or capricious
actions;

      ● provide for program continuity and policy advocacy in
the management of public programs;

      ● maintain a merit personnel system free of prohibited
personnel practices;

      ● ensure accountability for honest, economical, and
efficient Government;

      ● ensure compliance with all applicable civil service
laws, rules, and regulations, including those related to equal
employment opportunity, political activity, and conflicts of
interest;

      ● provide for the initial and continuing systematic
development of highly competent senior executives;

      ● provide for an executive system which is guided by the
public interest and free from improper political interference;
and,

      ● appoint career executives to fill Senior Executive
Service positions to the extent practicable, consistent with the
effective and efficient implementation of agency policies and

                                  - 2 -
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 5 of 64




responsibilities.

B.    DEFINITIONS. Throughout the remainder of this policy
      statement, all references to "SES" indicate the FBI SES,
      unless otherwise specified. The provisions of this policy
      do not supersede the jurisdiction of the Office of
      Attorney Personnel Management, Department of Justice
      (DOJ), in matters pertaining to those employees serving in
      FBI SES non-Agent attorney positions, unless a delegation
      of authority otherwise exists.

      1.   SES Position is any managerial or supervisory
           position classified above GS 15 of the General
           Schedule or in level IV or V of the Executive
           Schedule, or an equivalent position, which is not
           required to be filled by Presidential appointment
           with the advice and consent of the Senate and which
           involves:

           a.   Directing the work of an organizational unit;

           b. Being held accountable for the success of one or
           more specific programs or projects;

           c. Monitoring progress toward organizational goals
           and making appropriate adjustments to such goals;

           d. Supervising the work of employees other than
           personal assistants; or

           e. Otherwise exercising important policy making,
           policy determining, or other executive functions.

      2.   Senior Executive is a member of the SES.

      3.   Key Executive is the term used throughout this policy
           to refer to individuals who occupy:

           a. the positions of Executive Assistant Director,
           Assistant Director, Assistant Director in Charge, or
           General Counsel, and

           b. positions which report to the Director,


                                  - 3 -
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 6 of 64




 4.   A Limited Emergency Appointment may be made to meet a
      bona fide, unanticipated, urgent need. The
      appointment may not exceed 18 consecutive months and
      is nonrenewable.

 5.   A Limited Term Appointment may be made to a position
      the duties of which will expire at the end of a
      specified period or to a position that special
      circumstances require to be filled on a rotating
      basis. The appointment may not exceed five years and
      is nonrenewable.

 6.   SES Limited Appointment Allocation. Limited term and
      limited emergency appointments are included in the
      total FBI SES allocation. The total number of
      limited emergency and limited term appointees may not
      exceed 5% of the FBI total allocation.




                             - 4 -
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 7 of 64




          CHAPTER II.    RESPONSIBILITIES AND AUTHORITIES


A.    THE ATTORNEY GENERAL has final authority over the SES in
      that he/she may issue governing regulations and shall from
      time to time issue guidance to the Director regarding
      aspects of the SES. The Attorney General is solely
      responsible for nominating FBI executives for Presidential
      Rank Award recognition.

B.    THE DEPUTY ATTORNEY GENERAL provides overall supervision
      and direction to the FBI SES and has final approval
      authority for many personnel matters involving executives,
      e.g., salary adjustment and bonus decisions.

C.    THE DIRECTOR OF THE FBI is authorized by the Deputy
      Attorney General to manage the FBI SES in accordance with
      5 U.S.C. §3151, to include taking final action in matters
      pertaining to employment, direction, and general
      administration of personnel, including appointment,
      assignment, training, promotion, demotion, compensation,
      leave, classification, and separation. [The Attorney
      General and Deputy Attorney General reserve final approval
      authority for matters pertaining to key executives and key
      executive positions.]

D.    THE SES BOARD consists of high ranking executives selected
      by the Director to provide recommendations and/or final
      decisions in a vast array of matters impacting the use of
      executive resources. The SES Board shall, as appropriate,
      establish sundry other boards and committees as necessary
      to facilitate the administration and operation of the SES.

E.    THE PERFORMANCE REVIEW BOARD (PRB) evaluates the initial
      appraisal of senior executives for compliance and
      sufficiency. In the event an employee responds to one or
      more negative ratings, the PRB will review the response
      and addend a recommendation to sustain or adjust the
      appraisal for consideration of the final approving
      official. The PRB may also evaluate bonus recommendations
      based on the content of the appraisal.

F.    THE ADMINISTRATIVE SERVICES DIVISION (ASD) provides policy
      support to the SES Board and furnishes an executive

                                  - 5 -
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 8 of 64




 secretary to the PRB and all subsidiary boards. ASD works
 closely with the Justice Management Division, DOJ to
 interpret and implement laws and regulations impacting the
 FBI SES.




                             - 6 -
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 9 of 64




                    CHAPTER III.     ADMINISTRATION


           The SES Board and the PRB provide recommendations on
personnel management matters required for the continuous
operation of the SES, e.g., selection, promotion, evaluation of
performance, recommendation for recognition, succession
planning, etc. Additional boards and committees, such as those
necessary for the initial rating of the Special Agents in Charge
of the various field offices, will be formed and staffed as
necessary to ensure the efficient accomplishment of internal
goals and objectives.

A.    THE SES BOARD.

      1.   Membership. The SES Board will consist of high
           ranking executives selected by the Director. Members
           will be recused from voting on matters involving
           themselves or their prior decisions and as otherwise
           required by the Board Chair based on conflicts or
           other appropriate bases.

      2.   Functions. Under delegation of authority from the
           Director, the SES Board provides management oversight
           and is responsible for conducting the following
           functions:

           a. Executive personnel planning, including
           determination of numbers of SES positions needed,
           development of executive staffing plans, forecasting
           of executive requirements, determination of executive
           development program objectives.

           b. Preparing recommendations regarding the staffing
           of executive positions, including selections,
           promotions, reassignments and details.

           c. Executive development, including selection of
           candidates for programs to develop executive
           qualifications, the planning and conduct of such
           programs for the continuing development of senior
           executives, and evaluation of performance during
           developmental assignments.


                                  - 7 -
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 10 of 64




            d. Position management, including proper use of SES
            and other positions, and redistribution of functions
            to maximize the effectiveness of agency executives.

      e.    Pay management, through recommendations to the
            Director on staffing, promotion, and demotion
            matters, as well as recruitment, relocation and
            retention pay incentives available to the SES.

            f. Development of policy on discipline and removal
            of executives for cause.

            g. Development of policy on removal from the SES
            based on performance and alternatives to removal for
            use in appropriate cases.

            h. Development of policy on performance appraisal
            and recognition.

            i. Incorporation of DOJ and FBI equal employment
            opportunity policies into executive personnel plans
            and activities.

            j. Establishment of boards and committees to
            facilitate the administration and operation of the
            SES, to include review and evaluation of the reports
            and recommendations from such boards/committees,
            assuring that DOJ requirements are met where
            applicable.

            k. Such other matters as are approved, implicitly or
            explicitly, by the Director and not prohibited by DOJ
            or other policy or law.

B.    THE PERFORMANCE REVIEW BOARD (PRB).

      DOJ guidance will be provided on an annual basis to
      establish PRBs in each component. Please see chapter VI
      for further information.




                                  - 8 -
      Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 11 of 64




                          Chapter IV.    STAFFING


A.     MERIT PRINCIPLES. The SES Board will ensure that merit
       principles, executive qualifications, selection criteria,
       and equal employment opportunity objectives are considered
       in selection matters under their purview. The SES Board
       will review the executive qualifications of each candidate
       meeting selection guidelines, including all current FBI
       SES members and qualified employees outside the FBI SES
       population.

B.     CAREER APPOINTMENTS to the SES are normally made from
       within the career ranks of the FBI, to include both
       Special Agent and non-Agent personnel, considering
       demonstrated executive experiences and, where relevant,
       successful participation in the Career Development
       Program. Sufficient flexibility exists to allow for the
       appointment of non-FBI career employees whose special or
       unique qualifications indicate a likelihood of executive
       success.

       1.    Probationary Period. An individual who receives an
             SES career appointment must serve a 1-year
             probationary period.

       2.    Reassignment. SES members may be reassigned to meet
             mission needs, better use or enhance their executive
             qualifications, or provide developmental
             opportunities.

            a. Authority: The Director may reassign SES members
            from one position to another. The Director, based on
            recommendation from the SES Board, determines that
the         SES member being proposed for reassignment meets the
       technical qualification requirements of the position
       to which being reassigned. When reassigning key
       executives,, the Director will seek concurrence from
       the Deputy Attorney General prior to the action being
       made final.

             b. Notice Requirements: The SES member must be
             provided with written notice in advance of any
             reassignment/transfer.

                                   - 9 -
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 12 of 64
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 13 of 64




                       (1) Non-geographic reassignments: The
                  appointee must receive a written notice at least
                  15 days in advance of the effective date of the
                  reassignment. An appropriate management
                  official will generally consult with the
                  appointee before the written notice is
                  delivered.

                            (2) Geographic reassignments (i.e.,
                  to another commuting area): Management will
                  consult with and consider an executive’s input
                  prior to making a final reassignment decision.
                  Following a decision, the executive is given a
                  written notice at least 60 days in advance of
                  the effective date of any reassignment. This
                  written notice must contain the reasons for the
                  reassignment. The advance written notice may be
                  waived with the written consent of the executive
                  being reassigned.

                       (3) Voluntary reassignment: An SES member
                  may request a reassignment if he/she meets all
                  technical qualification requirements. Such a
                  request must be in writing signed by the SES
                  member and the documentation should be
                  preserved. The written request will preclude
                  necessity for the advance notice described
                  above.

C.    LIMITED TERM/LIMITED EMERGENCY APPOINTMENTS to SES are
      made in consideration of demonstrated special
      qualifications and/or experience which uniquely qualify
      the individual to serve either on an emergency basis for a
      specified, limited period, or in a position the duties of
      which will expire within a specified period of time or
      which must be filled on a rotating basis. The Director
      must approve all limited appointments and seek the
      concurrence of the Deputy Attorney General where the
      appointment is to a key executive position.

            Reassignment:




                                  - 10 -
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 14 of 64




                 a. A limited term appointee may be reassigned
            to another SES position provided that the duties of
            such a position terminate within five years or less.
            Under no circumstances may a limited term appointee
            serve in one or more such positions in the FBI for
            more than five years.

                 b. A limited emergency appointee may be
            reassigned to another SES position in the FBI which
            is established to meet a bona fide, unanticipated,
            urgent need, except that the limited emergency
            appointee may not serve in one or more such positions
            in the FBI for more than 18 consecutive months.

                 c. Neither a limited term nor a limited
            emergency appointee may be appointed to or continue
            to hold a position under such an appointment if
            within the preceding 72 months the individual has
            served more than 60 months in the aggregate under any
            combination of such appointments.

D.    REINSTATEMENT of a former FBI SES career appointee to any
      SES position for which the appointee is qualified may
      occur if the following conditions are met.

      1.    The appointee has successfully completed, or was not
            required to complete, a one-year SES probationary
            period; and

      2.    The appointee left SES for reasons other than
            misconduct, neglect of duty, malfeasance, failure to
            accept a directed reassignment or to accompany a
            position in a transfer of function, or less than
            fully successful executive performance; or

      3.    The employee was appointed by the President to any
            civil service position outside SES, left that
            position for reasons other than misconduct, neglect
            of duty, malfeasance, and applies for reinstatement
            within 90 days after separation from the Presidential
            appointment; and

      4.   The Deputy Attorney General must approve
      reinstatement to a key executive position.

                                  - 11 -
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 15 of 64




      Reemployed annuitants in the SES serve at the
 discretion of the Director. Final administrative action
 regarding reemployed annuitants in key executive positions
 is subject to review by the Deputy Attorney General.




                             - 12 -
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 16 of 64




                 CHAPTER V.   REMOVAL AND ADVERSE ACTION


A.    GENERAL. A career appointee may be removed from the SES
      for a variety of reasons, including less than fully
      successful performance, misconduct, conditions arising
      before appointment, and reduction in force (RIF). Final
      approval for adverse actions involving key executives will
      be at the discretion of the Deputy Attorney General. The
      Director is the final approval authority for all other FBI
      senior executives.

      Unless a career appointee is removed for less than Fully
           Successful executive performance pursuant to the
      appraisal process described in Chapter VI, he/she may not
      be involuntarily removed from the SES within 120 days
      after the appointment of a new Director. A removal action
      based on performance is not subject to the 120-day
      moratorium if the action is based on a final rating given
      before the appointment of the Director. Procedural
      entitlements and placement of the appointee are dependent
      upon the basis for the removal action.


B.    ACTIONS TAKEN DURING PROBATIONARY PERIOD.

      1.    Performance-based removal. The removal for
            unsatisfactory performance of a career appointee who
            has not completed the probationary period need not be
            based on a final rating of record. Regardless of
            whether a rating has been issued, a probationary
            executive being removed for performance must be
            notified in writing of the effective date of the
            action. This notice must, at a minimum:

            a. State the agency's conclusions as to the
            inadequacies of the executive's performance;

            b. State whether the appointee has placement rights
            and, if so, identify the position to which he/she
            will be assigned (see paragraph E of this chapter
            regarding placement rights); and

            c.    Show the effective date of the action.

                                  - 13 -
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 17 of 64




 2.    Adverse action. An employee being removed or
       suspended for misconduct, neglect of duty,
       malfeasance, or failure to accept a directed
       reassignment or to accompany a position in a transfer
       of function, must be notified in writing before the
       effective date of the action. This notice must, at a
       minimum:

       a. State the basis for the action (including the
       act(s) of misconduct, neglect of duty, or malfeasance
       if those factors are involved); and

       b.   Show the effective date of the action.

            However, if the employee was a preference
       eligible employee immediately prior to his/her
       appointment, the provisions in 5 CFR Part 752,
       Subpart F apply.

 3.    Removal based on conditions arising before
       appointment. When action to remove is based in whole
       or in part on conditions arising before the
       appointment, and the probationary employee was not a
       preference eligible employee immediately before
       appointment, the following procedures apply:

       a. The agency shall give the employee an advance
       written notice stating the specific reasons for the
       proposed removal;

       b. The employee must be provided a minimum of seven
       days to reply; and

       c. A written decision, showing the reasons for the
       action and the effective date, must be given to the
       employee at or before the time the action will be
       made effective.

            However, if the employee was a preference
       eligible employee immediately prior to his/her
       appointment, the provisions in 5 CFR Part 752,
       Subpart F apply.

 4.    Removal based on RIF.      The same procedures apply to

                             - 14 -
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 18 of 64




            probationary and non-probationary employees during a
            RIF. See C.3., below.

C.   ACTIONS TAKEN AFTER COMPLETION OF PROBATIONARY PERIOD.

      1.    Removal for Performance. A career appointee may be
            removed from SES and assigned to a GS 15 position
            within the FBI at any time for less than fully
            successful executive performance based on a minimum
            of 120 days in the SES position and in accordance
            with the provisions of Chapter VI. A career
            appointee who has completed the one year probationary
            period, but who is removed from the SES for executive
            performance, is guaranteed placement in a GS 15
            position (see paragraph E of this chapter). Any
            career appointee being removed for performance
            reasons will receive a written notice at least 30
            calendar days before the effective date of removal
            which will include:

            a. The reason for the removal, including reference
            to the final rating(s) upon which the decision was
            based;

            b. The appointee's right to be placed in a position
            outside the SES, and information regarding the
            position to which the employee will be reassigned, if
            such decision has been made. If that decision has
            not been made, the employee may be advised of the
            proposed assignment in a supplementary notice issued
            at least 10 days in advance of the effective date of
            the action;

            c. The appointee's right, if any, to a discontinued
            service retirement; and

            d. The appointee's right to request a
            reconsideration of the proposed action by the
            Director. Such a request must be made at least 15
            days prior to the effective date of the action. For
            key executives, the response to a proposed action
            will be considered by the Director and ultimately the
            Deputy Attorney General who serves as the final
            approval authority. For all other executives the

                                  - 15 -
    Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 19 of 64




           Director will serve as the final approval authority.
           A removal for performance is not appealable to the
           Merit Systems Protection Board.

      2.   Adverse Actions (Disciplinary Removal/Suspension).
           Action may be taken against a member of the SES for
           misconduct, neglect of duty, malfeasance, or failure
           to accept a directed reassignment or to accompany a
           position in a transfer of function. This action may
           include removal from the civil service or suspension
           for more than 14 days. Suspension in the SES may
           include indefinite suspension where additional
           investigation is necessary to resolve serious
           disciplinary proceedings such as allegations of
           criminal activity, revocation of security clearance,
           or disruptive behavior which may have underlying
           medical causes.

           The Office of Professional Responsibility is the
      entity within the FBI charged with processing adverse
      actions for review by the Director.

           a. Entitlements. Any career SES employee who has
      completed the one-year probationary period, and any
      probationary or limited term/limited emergency
      appointee who was a preference eligible employee
      immediately prior to appointment to the SES, against
      whom such adverse action is taken, is entitled to:

                (1) At least 30 days advance written notice
                stating specific reasons for proposed actions.
                However, if there is reasonable cause to believe
the employee has committed a crime for which a
sentence of imprisonment can be imposed, the
advance notice may be curtailed to as little as
seven days.

                 (2) A reasonable time, but not less than seven
                 days, to answer orally and in writing and to
                 furnish affidavits and other documentary
                 evidence in support of the answer;

                 (3) Be represented by an attorney or other
                 representative; and

                                 - 16 -
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 20 of 64




             (4) A written decision of final action and
             specific reasons therefor at the earliest
             practicable date.

             (4) If the employee wishes the FBI to consider
             any medical condition that may have affected the
             basis for the adverse action, he/she will be
             permitted to furnish medical documentation of
             the condition.

       b. Special circumstances. If during the required 30
       day advance notice period the employee's presence in
       the work place may pose a threat to the employee or
       others, result in loss of or damage to Government
       property, or otherwise jeopardize legitimate
       Government business, the following actions may be
       taken:

             (1) The employee may be assigned to duties
             where he/she is no longer a threat to safety,
             the FBI's mission or Government property;

             (2) The employee may be placed on leave with
             his/her consent;

             (3) The employee may be carried on appropriate
             leave if he/she is voluntarily absent for
             reasons not originating with the FBI;

             (4) The notice period may be curtailed, and the
             employee placed in a nonduty status with pay,
             where the FBI has reasonable cause to believe
             that the employee has committed a crime for
             which a sentence of imprisonment may be imposed;
             or

             (5) If none of the above alternatives are
             available, the employee may be placed in a paid
             nonduty status during all or part of the notice
             period.

      c. Documentation. The notice of proposed adverse
 action will inform the employee of his/her right to

                             - 17 -
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 21 of 64




      review the material that is relied on to support the
      reasons for the action(s). The FBI will not use
      material that cannot be disclosed to that employee,
      his/her representative, or designated physician to
      support the reasons provided in the notice.

            d. Determination. In arriving at its written
            decision, the FBI will consider only the reasons
            specified in the notice of proposed action and will
            consider the reply of the employee or his/her
            representative as well as any medical documentation
            which has been submitted. Written notice of the
            decision will be delivered at or before the time the
            adverse action will be effective. The Director has
            final approval authority regarding removals and
            adverse actions for the majority of SES employees,
            excepting only those who are key executives for which
            final approval authority resides with the Deputy
            Attorney General.

      3.    Removal as a result of RIF. A RIF can take place in
            the SES based upon elimination or modification of
            positions due to a reorganization, lack of funds or
            curtailment of work, or other factors. Retention in
            the SES will be based upon procedures consistent with
            Title 5 U.S.C. §3595(a).

                An employee who is removed from the SES as the
      result of a RIF will be reduced to a GS 15 and placed
      in a non-SES position within the FBI. The reduced
      employee will be entitled to guaranteed placement in
      accordance with paragraph E of this chapter, if he/she
      has completed any required probationary period. After
      receiving the specific notice of a RIF decision, an
      employee may appeal that decision in writing to the
      Director.


D.    ACTIONS TAKEN AGAINST LIMITED TERM/EMERGENCY APPOINTEES.

      1.    Limited term and limited emergency appointees may be
            removed or suspended from the SES at any time at the
            discretion of the Director, or Deputy Attorney
            General for action(s) involving key executives. All

                                  - 18 -
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 22 of 64




            such appointees must be given at least a one day
            written notice and have no rights to an
            administrative hearing or appeal. Such employees do
            not have reinstatement or pay retention rights. The
            notice provided shall, at a minimum,

                 a. State the basis for the action (including
            the act(s) of misconduct, neglect of duty, or
            malfeasance if those factors are involved); and

            b.   Show the effective date of the action.

      2.    Removal for disciplinary reasons of limited term and
            emergency appointees who held preference eligible
            status immediately prior to entering the SES and
            completed at least one year of continuous service in
            the FBI must be in accordance with the provisions in
            5 CFR Part 752, Subpart F.


E.    GUARANTEED PLACEMENT OUTSIDE THE SES.

      1.    Coverage. The following information applies to
            career appointees, other than reemployed annuitants,
            who are removed from the SES for any of the following
            conditions:

            a. Removal during the probationary period for other
            than misconduct, neglect of duty, malfeasance, or
            other disciplinary reasons;

            b. Removal for less than Fully Successful
            performance if the appointee has completed or was not
            required to serve an SES probationary period; or

            c. Removal as a result of a RIF if the appointee has
            completed or was not required to serve a probationary
            period.

      2.    Placement. Any position to which a career appointee
            under 1.b.c.d. is placed must be a continuing
            position at no less than GS 15 for which he/she meets
            qualifications requirements. No career appointee may
            be placed in a non-SES position which would cause the

                                  - 19 -
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 23 of 64




       separation or reduction in grade of any other
       employee.
            An employee who has not completed the FBI SES
       probationary period is entitled to be placed in a
       position of tenure equivalent to the FBI appointment
       held at the time of entry into the SES, unless the
       FBI does not have a position of equivalent tenure for
       which the appointee meets the qualifications
       requirements or if the appointee is willing to accept
       a position having different tenure.

           Employees who do not complete the FBI SES
 probationary period and did not hold an FBI career
 appointment for which they completed a probationary
 period prior to entering the FBI SES have no
 placement rights.

 3.    Pay. Any career SES appointee placed in a GS 15
       position, as a result of other than an adverse
       action, is entitled to receive basic pay at the
       highest rate of:

       a. The basic pay rate in effect for the non-SES
       position in which placed;

       b. The basic payable salary in effect for the
       position held by the appointee before entering SES;
       or

       c. The basic pay rate in effect for the SES career
       appointee immediately before placement in the non-SES
       civil service position.

       [Note: While basic pay is preserved, other
       components          of salary, to include locality
       and availability pay, will be limited by the pay caps
       applicable for the General Schedule.]

           SES appointees subject to guaranteed placement
 prior to completing the FBI SES probationary period
 will receive the highest previous rate for the
 position to which they are returned.

 4.    Disciplinary removal.      An appointee removed for

                             - 20 -
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 24 of 64




            disciplinary reasons has no entitlement to placement
            in a position outside the SES, and may not be moved
            directly from an SES position to a non-SES position.
            Following the removal action, however, a separate
            action may be taken to appoint the individual to a
            position outside the SES for which he/she is
            eligible. In such case, all requirements, including
            suitability requirements, pertinent to the new
            appointment must be met.

F.    GUARANTEED ANNUITY. A member of the SES who is removed
      from SES for less than fully successful executive
      performance may request a discontinued service annuity if
      the employee has completed 25 years of service or is at
      least 50 years of age and has completed 20 years of
      service.




                                  - 21 -
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 25 of 64




                 CHAPTER VI.    PERFORMANCE APPRAISAL

      This chapter incorporates the DOJ Performance Management
System Plan covering all senior executives.

                        DEPARTMENT OF JUSTICE
                 PERFORMANCE MANAGEMENT SYSTEM PLAN
               FOR SENIOR EXECUTIVE SERVICE EMPLOYEES

                                              SECTION 1

                          GENERAL INFORMATION

1.   PURPOSE. This framework establishes the Department of
     Justice (DOJ or Department) Performance Management System
     (PMS) for Senior Executive Service (SES) employees1
     throughout the Department and also includes the Federal
     Bureau of Investigation and the Drug Enforcement
     Administration.

2.   SCOPE. This model plan provides general guidelines for
     component heads to use in developing performance management
     plans for their organizations. Component heads may adopt
     this plan or develop their own to tailor their PMS and
     approach for managing SES performance to fit their unique
     and changing mission, operational needs, and organizational
     climates. Component performance plans must be consistent
     with law and regulation as listed in paragraph 4 of this
     plan.

3.   POLICY. The Department recognizes the importance of
     integrating its performance appraisal, pay, and incentive
     award programs into the management of its human resources
     to promote efficient and effective attainment of its
     mission, program objectives, and strategic planning
     initiatives. The Department's PMS for SES members is a
     management tool to motivate high levels of achievement, and
     for holding senior executives accountable for their
     individual and organizational performance by:

     a.    Expecting excellence in senior executive performance;


      SES employees are those covered by 5 U.S.C. chapter 31,
     subchapter II.           - 22 -
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 26 of 64




      b.    Linking performance management with the results-
            oriented goals of the Government Performance and
            Results Act (GPRA) of 1993;
      c.    Setting and communicating individual and
            organizational goals and expectations;

      d.    Systematically appraising senior executive performance
            using measures that balance organizational results
            with customer, employee, or other perspectives; and

      e.    Using performance results as a basis for pay, awards,
            development, retention, removal, and other personnel
            decisions.

4.   AUTHORITIES. The PMS is established in accordance with the
     following authorities:

a.        Performance Appraisal - 5 U.S.C. chapter 43, subchapter
     II (Performance Appraisal in the Senior Executive Service);
     5 CFR Part 430, Subpart C (Managing Senior Executive
     Performance).

b.        Superior Accomplishment Awards - 5 U.S.C. chapter 45
     (Incentive Awards); 5 CFR Part 451, Subpart A (Agency
     Awards).

c.        Records of Employee Performance - 5 CFR Part 293,
     Subpart D (Employee Performance File System Records).

5.   RESPONSIBILITIES.

     a.    The Attorney General (AG) responsibilities:

           (1)   Managing the SES and assessing the performance
                 for individual SES members. Setting and
                 adjusting SES rates of pay for individual senior
                 executives. The AG has delegated certain
                 responsibilities as appropriate.

     b.    The Deputy Attorney General (DAG) responsibilities:

           (1)   Directs that the annual assessment of the
                 Department’s performance be conducted, issues
                 performance evaluation guidelines, certifies that
                 the results of the appraisal process make
                 meaningful distinctions, and assures pay
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 27 of 64




            adjustments and levels of pay accurately reflect
            and recognize performance and/or contribution to
            the Department’s performance.

     (2)    Approving performance appraisals for noncareer
            and key career executives except for SES members
            in the Office of the Inspector General (OIG);

     (3)    Approving Superior Accomplishment Awards (Special
            Act or Service) for all noncareer and career
            executives except for SES members in the OIG; and

     (4)    Approving bonus recommendations for all career
            executives except for SES members in the OIG.

     (5)    Serving as Chair of the Department’s executive
            Performance Review Board (PRB) established under
            5 CFR 430.310.

b. Assistant Attorney General for Administration (AAG/A)
responsibilities:

      (1)   Providing assessment of the component’s or
            Department’s performance overall as well as each
            of its major program and functional areas, such
            as reports of the Department’s Government
            Performance and Results Act (GPRA) goals and
            other program performance measures and
            indicators, and evaluation measures and
            indicators, and evaluation guidelines based, in
            part, upon those assessments to senior employee
            rating and reviewing officials and PRB members.

     (6)    Certifying that (1)the senior employee appraisal
            process makes meaningful distinctions based on
            relative performance; (2)the results of that
            process take into account as appropriate the
            Department’s assessment of its performance
            against program performance measures; and (3)pay
            adjustments, cash awards, and levels of pay
            accurately reflect and recognize both individual
            and organizational performance.
       Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 28 of 64




      c. Authorized Department Official, (i.e., Component Head)
      with the exception of the Office of the Inspector General
      (OIG) responsibilities:

(1)          Setting and adjusting SES rates of pay for individual
                  senior executives within the scope of the
                  Department’s Delegation of Authority.
(2)          Appointing SES members within their respective
                  organizations to serve on PRBs;

(3)          Approving performance appraisals for all career SES
                  members within their respective organizations
                  except for certain key career executives2; and

(3)          Approving performance based reassignments for all
            career SES members within their respective
            organizations except for certain key career executives.

      d. The Inspector General responsibilities:

            (1)    Appointing SES members to serve on the OIG PRB;

            (2)    Approving performance appraisals for all career
                   executives in the OIG;

            (3)    Approving Superior Accomplishment Awards (Special
                   Act or Service) for all career executives in the
                   OIG; and

            (4)    Approving bonus recommendations for all career
                   executives in the OIG.

6.     DEFINITIONS



       Key career executive positions at the FBI include:

       a. the positions of Executive Assistant Director, Assistant
       Director, Assistant Director in Charge, or General Counsel,
       and

       b. positions which report to the Director.
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 29 of 64




a.        Annual Summary Rating. The overall rating level that
an appointing authority assigns at the end of the appraisal
period after considering a Performance Review Board's
recommendations. This is the official rating.

b.        Appointing Authority. The Attorney General,
Department component heads, or other Department official with
authority to make appointments in the SES.

c.        Authorized Department Official. The Attorney General
or an official who is authorized to act for the Attorney
General in the matter concerned. The Department’s Inspector
General is the Authorized Department Official for senior
executive positions in the Office of the Inspector General
consistent with the requirements in section 3(a) of the
Inspector General Act of 1978.

d.        Award or Superior Accomplishment Award. A monetary
or non-monetary award for a special contribution resulting in
tangible benefits or savings and/or intangible benefits to the
government.

e.         Balanced Measures. An approach to performance
measurement that balances organizational results with the
perspectives of distinct groups, including customers and
employees.

f.        Component. An Office, Board, Division, or Bureau,
i.e., the first major subdivision of the Department that is
separately organized and clearly distinguished from other
components in work functions and operation.

g.        Component Head. The official who directs the
administration and operations of each Office, Board, Division,
and Bureau of the Department of Justice. However, for the
purposes of this plan, the component head for the United States
Attorneys and United States Trustees shall be the Director of
the Executive Office for United States Attorneys and the
Director of the Executive Office for United States Trustees,
respectively.

h.        Critical Element. A key component of an executive's
work consisting of one or more duties and responsibilities that
contributes to organizational goals and results and is so
important that unsatisfactory performance of the element would
make the executive's overall job performance unsatisfactory.
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 30 of 64




i.        Higher Level Review Official. The official who is
responsible for providing a higher level review of an SES
member’s initial appraisal. (Typically the second level
supervisor) Note: The reviewer must hold a higher level
position than the rating official, but not necessarily be in
the same organization.

j.        Intangible Benefits. Benefits to the Government
which cannot be measured in terms of dollar savings.

k.        Initial Summary Rating. The overall rating level the
supervisor derives from appraising the senior executive's
performance during the appraisal period and forwards to the
Performance Review Board.

l.        Interim Rating. An interim rating is issued to
appraise employee performance during details, or during
assignment to any Department PMS position in which the employee
served for the minimum appraisal period during the annual
appraisal cycle. The weight given to interim ratings in
deriving the employee's annual summary rating should be
proportionate to their share of the appraisal cycle.

m.        Minimum Appraisal Period. The minimum amount of time
in which an employee must have served in a position under
written performance elements and requirements in order for an
appraisal to be rendered concerning such performance. The
Department's minimum appraisal period is 90 days. Component
heads may establish longer minimum appraisal periods.

n.        Nonmonetary Award. A medal, certificate, plaque,
citation, badge, or other similar item that is given to honor
an individual.

o.        Performance. The accomplishment of the work
described in the senior executive's performance plan.

p.        Performance Appraisal. The review and evaluation of
a senior executive's performance against performance elements
and requirements.

q.        Performance Award. Performance awards, commonly
called “bonuses,” recognize and reward excellence of career SES
appointees or a former career SES appointee who has elected to
retain bonus eligibility under 5 U.S.C. § 3392(c). Specific
due dates and instructions for recommending executives for
bonuses will be issued by the Deputy Attorney General for each
appraisal cycle.
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 31 of 64




r.         Performance Management System. The framework of
policies and practices established under 5 U.S.C. chapter 43,
subchapter II and 5 CFR Part 430, Subpart C, for planning,
monitoring, developing, evaluating, and rewarding both
individual and organizational performance and for using
resulting performance information in making personnel
decisions.

s.        Performance Requirement. A statement of the
performance expected for a critical element or other element.
A performance requirement may include, but is not limited to,
factors such as quality, quantity, timeliness, and manner of
performance.

t.        Performance Review Board. Performance Review Boards
are established under the provisions of 5 U.S.C.
     § 4314(c) and shall review and evaluate the initial
     summary rating of a senior executive's performance by
     his/her supervisor, along with any response by the senior
     executive or higher level review determination (if
     appropriate), and make recommendations to the appointing
     authority relative to the performance of the senior
     executive. The appointing authority shall issue
     appraisals/ratings only after considering the
     recommendations of a Performance Review Board. The
     Performance Review Board must also make recommendations
     concerning individual performance awards (bonuses) to the
     Deputy Attorney General.

u.        Progress Review. The review of the senior
executive's progress in meeting the performance requirements.
A progress review is not a performance rating. Regulations
require at least one progress review midway through the
appraisal period.

v.        Rating Levels. The plan describes five rating
levels: Outstanding, Excellent, Fully Successful, Minimally
Satisfactory, and Unsatisfactory.

w.        Rating Official. The individual who is responsible
for communicating to the employee the elements of his or her
position, establishing performance requirements for those
elements, appraising performance, and assigning the initial
performance rating. Normally this is the employee's immediate
supervisor.
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 32 of 64




x.        Relative Performance. The performance of a senior
employee with respect to the performance of other senior
employees, including their contribution to Department
performance, where appropriate, as determined by the
application of a certified appraisal system.

y.        Senior Executive Performance Work Plan. The written
summary of work the senior executive is expected to accomplish
during the appraisal period and the requirements against which
performance will be evaluated. The plan addresses all critical
elements and any other performance elements established for the
senior executive.

z.        Senior Executive Resources Board. The Senior
Executive Resources Board (SERB) provides overall management
and control of the Department’s SES. The members of the SERB
are the Deputy Attorney General, Associate Attorney General,
and Assistant Attorney General for Administration. The
Assistant Director for Leadership Effectiveness, Personnel
Staff, Justice Management Division serves as the Executive
Secretary for the SERB. Additional members may be added at the
direction of the Attorney General.

aa.       Special Act or Service. A contribution or
accomplishment in the public interest which is: (l) a
nonrecurring contribution either within or outside of job
responsibilities, (2) a scientific achievement, or (3) an act
of heroism.

bb.       Strategic Planning Initiatives. Department or
component strategic plans, annual performance plans,
organizational workplans, and other related initiatives.

7.   TRAINING. Component heads are required to make effective
use of available resources (e.g., technology, learning,
information, etc.) to maximize SES employee performance. It is
essential that training and information on the PMS be provided
to SES employees and their managers and supervisors to assure
effective administration of the PMS. Topics covered should
include the Department's PMS for SES members, performance
appraisal, and pay incentive programs (i.e., pay for
performance and superior accomplishment awards).

8.   CERTIFICATION CRITERIA. The plan incorporates the
following criteria designed to guide the Department in the
strategic use of the performance appraisal system to support
and attain the Department’s mission, goals, and objectives.
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 33 of 64




a.    Alignment - performance expectations for individual senior
      employees are linked to or derived from, the Department’s
      mission, strategic goals, program/policy objectives,
      and/or annual performance plans.

b.    Consultation - Performance expectations are based on
      senior employee involvement and input that are
      communicated at the beginning of the appraisal period and
      appropriate times thereafter.

c.        Results - Performance expectations for senior
employees apply to their respective areas of responsibility;
reflect expected Department or Component performance; clearly
describe performance that is measurable, demonstrable, or
observable; and focus on tangible outputs, outcomes, milestones
or other deliverables;

d.        Balance - Performance expectations for senior
employees include appropriate measures or indicators of
results; customer/stakeholder feedback; quality, quantity,
timeliness, and cost effectiveness, as applicable; and
competencies or behaviors that contribute to and are necessary
to distinguish outstanding performance;

e.        Assessment and Guidelines - The Attorney General, or
the AAG/A, provides assessment of the performance overall as
well as each of its major program and functional areas, such as
reports of the Department’s GPRA goals and other program
performance measures and indicators, and evaluation measures
and indicators, and evaluation guidelines based, in part, upon
those assessments to senior employee rating and reviewing
officials and PRB members. These assessments and guidelines
are provided at the conclusion of the appraisal period but
before individual senior employee performance ratings are
recommended, so that they may serve as a basis for individual
performance evaluations as appropriate.

f.        Oversight - Rigorous oversight of the appraisal
process is provided by the Attorney General or AAG/A who
certifies that:

      (1)   The senior employee appraisal process makes
            meaningful distinctions based on relative
            performance;

      (2)   The results of that process take into account, as
            appropriate, the Department’s assessment of its
            performance against program performance measures; and
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 34 of 64




      (3)   Pay adjustments, cash awards, and levels of pay based
            on the results of the appraisal process accurately
            reflect and recognize individual performance and/or
            contribution to the Department’s performance.

           The assessment may be any official or formal
      organizational assessment done for the purpose of
      determining how well the Department and its individual
      components have performed during the appraisal period.

2.        Accountability - Senior employee ratings (as well as
subordinates’ ratings for those with supervisory
responsibilities) that appropriately reflect the employee’s
performance expectations and are clearly linked to
organizational mission, GPRA strategic goals, or other program
or policy objectives.

3.        Performance Differentiation - The Department is using
a five-level rating system for senior employees which includes
a rating level that reflects outstanding performance. The
appraisal process results in meaningful distinctions in
relative performance based on senior employees’ actual
performance against rigorous performance expectations and their
relative contributions to Department performance.


4.        Pay Differentiation - Individual pay rates and pay
adjustments, as well as their overall distribution, reflect
meaningful distinctions among executives based on their
relative contribution to Department’s performance; The
Department’s highest performing senior employees must receive
the largest pay adjustments and/or highest pay levels
(including both basic pay and performance awards), particularly
above the rate for Level III of the Executive Schedule.

9.    PROGRAM EVALUATION.

a.        Reports on the Department's PMS activities will be
provided to the Executive Secretary of the Department's SERB by
the component heads. These reports will be used to monitor
performance management activities such as rating distributions,
award payouts, regulatory compliance, etc.

b.        PRBs will be responsible for providing
recommendations to the appropriate appointing authority on the
SES performance management system.
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 35 of 64




c.        Based on this data, recommendations or required
corrective actions will be developed as appropriate for
implementation in the organization.
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 36 of 64




                                SECTION 2

      PERFORMANCE APPRAISAL FOR THE SENIOR EXECUTIVE SERVICE

10. PERFORMANCE APPRAISAL PREMISES AND PRINCIPLES. The
Department has adopted the following set of premises and
principles to guide performance management within the SES.

a.        The Department of Justice workforce is comprised of
dedicated, hardworking public servants who strive to deliver
value to the American taxpayer.

b.         The Department will pursue a workforce that is fully
      representative of the diversity of the American people.

c.        The Department will pursue a workforce that is
engaged and involved in designing a results-oriented,
performance-based, and customer-focused system that delivers
value.

d.        Department of Justice federal leaders and managers
create a climate for excellence by communicating their vision,
values, and expectations clearly, and by:

      (1)        creating an environment in which every employee
            may excel, regardless of race, color, religion, sex,
            age, national origin, disability, sexual preference,
            or parental status, and which is free of sexual
            harassment;

      (2)        creating an environment for continual learning;

      (3)        working in partnership with employees to ensure
            they reach their full potential;

      (4)        recognizing and rewarding excellence with
            financial incentives and non-financial incentives,
            such as increased flexibility to do jobs, more
            meaningful work, and achieving a sense of
            accomplishment; and

      (2)             taking timely action to both reward and
            correct performance appropriately, ensuring that
            excellence is the standard for all.

e.        Individuals are personally responsible for being
results-oriented, performance-based, and customer-focused.
      Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 37 of 64




f.         Leaders, managers, and employees have a mutual obligation
      to provide value and excellence. This requires each individual
      to be continually challenged to perform their best. Taking
      action to improve the performance of each individual and
      providing fair and accurate appraisals is imperative to
      achieving our mission.

      g.        The Department of Justice is committed to pursuing
      effective performance management.

11.   PERFORMANCE APPRAISAL PERIOD.

      a.        The performance appraisal period for senior
      executives is July 1 - June 30 of the following year, unless
      advanced or delayed by appropriate authority.

      b.        If a senior executive fails to complete the
      established minimum appraisal period because of reassignments,
      change in supervisor, or other legitimate management reasons,
      his/her appraisal period should be extended for the minimum
      appraisal period at which time a rating of record should be
      prepared.

      c.        The established performance appraisal period may be
      terminated at any time after the minimum appraisal period is
      completed, if there is adequate basis on which to appraise and
      rate the senior executive's performance.

      d.        An appraisal or rating of an SES career appointee may
      not be made within 120 days after the beginning of a new
      Presidential Administration.

PERFORMANCE WORK PLANS.

      a.        Each senior executive must have a performance work
      plan (PWP) that describes the individual and organizational
      expectations for the appraisal period and sets the requirements
      against which performance will be evaluated.
      b.        Rating officials must develop PWPs in consultation
      with senior executives and communicate (in writing) the plans
      to the executives on or before the beginning of the appraisal
      period.

      c.          The PWP for career and noncareer SES members will be
                                -34-
      written in a standard/generic format with at least three
      critical elements to ensure alignment with Departmental goals.
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 38 of 64




a.        Elements must reflect individual and organizational
performance. They can be either capsulized aspects of the most
important duties and responsibilities associated with the SES
position or specific projects or tasks which can be logically
inferred from the duties and responsibilities cited in the
employee's position description. Accomplishment of
organizational objectives MUST be included in PWPs by
incorporating objectives, goals, program plans, work plans, or
by other similar means that account for program results.

b.         Before or at the outset of the rating period (usually
within 30 days) or, in the case of an executive entering a new
position, as soon as possible (but no later than 30 days) after
entry into the position, a PWP must be either developed or
reviewed for continued appropriateness and the elements and
performance requirements covered by the PWP communicated to the
executive.

c.        Final authority for establishing the elements and
requirements rests with the rating official. However, the PWP
can be modified, as appropriate, at any time during the
appraisal period to reflect changing priorities or shifts in
workload. Component guidance may require a second level review
of SES PWPs.

12.   PERFORMANCE REQUIREMENTS.

a.        Like critical elements, performance requirements must
be consistent with the goals and performance expectations in
the Department’s strategic planning initiatives.

b.        Performance requirements MUST be written at the Fully
Successful level. They may also be written at additional
levels consistent with component level guidance. These
requirements are the standards against which the senior
executive's performance will be appraised.

c.        The absence of a written performance requirement at a
given level does not preclude the assignment of a rating at
that level.

13.   REVIEW OF PERFORMANCE WORK PLANS.


                              -35-
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 39 of 64




     a.        A higher level review of all SES ratings to ensure
     appropriate levels of quality and difficulty of performance
     requirements within each SES PWP and in SES PWPs across the
     component is encouraged, but not required.

b.        The SERB will ensure that the review process across the
     Department is fairly managed. These reviews may be made during
     the appraisal process or at such other times as deemed
     appropriate.

     14.   PROGRESS REVIEWS.

     a.        Component heads and supervisors must monitor each
     senior executive's performance during the appraisal period and
     provide ongoing, timely, and honest feedback to the senior
     executive on progress in accomplishing the performance elements
     and requirements described in the performance plan to sustain
     and reinforce expected performance.

     b.        A progress review shall be held for each SES member
     at least once during the appraisal period. At a minimum,
     senior executives must be informed about how well they are
     performing including their level of performance by comparison
     with the elements and performance requirements established for
     their positions.

     c.        Supervisors must provide advice and assistance to
     senior executives on how to improve their performance.

     d.        If either the rating official or the executive feels
     that modifications to previously established elements or
     performance requirements are warranted because of unforeseen
     shifts in workload or changes in priorities, he/she must be
     prepared to discuss possible alternatives. If the rating
     official feels that performance in one or more of the
     established elements is lacking, he/she should discuss possible
     corrective actions as well as the ramifications of unimproved
     performance. The progress review should not be viewed solely
     as a discussion of performance weaknesses or deficiencies, but
     also serve as a forum for encouraging employees whose
     performance is Fully Successful or Excellent to strive for even
     greater achievement.



                                   -36-
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 40 of 64




e.        If modifications in either elements or requirements
are warranted, they must be discussed and recorded during the
review process. At the end of the review session, both the
rating official and the executive should share a common
understanding of where the employee stands in relationship to
his/her PWP, what is expected of the employee through the
remainder of the rating period, and what actions, if any will
be initiated as a result of performance to date. The executive
and the rating official each sign and keep a copy of the PWP,
acknowledging that the progress review was conducted and
reflecting any modifications in the elements or requirements.

15.   APPRAISING PERFORMANCE.

a.        If an SES member has served in his/her current
position under written performance elements and requirements
for the established minimum appraisal period when the
performance appraisal cycle ends (June 30 of each year), and
there is adequate basis on which to rate the senior executive,
the employee must be rated as soon as practical after the end
of the appraisal period on the appropriate performance
appraisal record.

b.        Each executive must be appraised on each element of
the PWP, unless the employee has had insufficient opportunity
to demonstrate performance on the element. On the rating date
or as soon as possible thereafter, the rating official should
be prepared to compare the overall achievements of the employee
with respect to each element and performance requirement based
on personal knowledge and a summary of accomplishments provided
by the rated executive.

c.        The rating official should then briefly summarize in
narrative fashion the achievements of the executive against
each performance requirement established for the elements.
Rating officials have the option of summarizing in a narrative
fashion the achievements of the executive against the
performance requirements established for the job elements, or
to provide narrative comments only for rating levels to be
assigned that are not described in the executive’s PWP.

d.        Appraisals of senior executive performance must be
based on both individual and organizational performance, taking
into account such factors as:

                              -37-
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 41 of 64




      (1)        Results achieved in accordance with the goals of
            the Government Performance and Results Act of 1993;

      (2)              Customer satisfaction;

      (1)        Employee perspectives;

      (2)        The effectiveness, productivity, and performance
            quality of the employees for whom the senior
            executive is responsible; and
      (3)        Meeting equal employment opportunity, and
            diversity goals and complying with the merit system
            principles set forth under section 2301 of title 5,
            United States Code.

e.        The supervisor will assign individual element ratings
as follows:

      (1)        Outstanding. Performance on an individual
            critical element of the job which clearly
            demonstrates a level of achievement which exceeds to
            an exceptional degree the performance requirements
            for Fully Successful. Performance at this level so
            exceeds what is normally required of the job that it
            is deserving of special recognition.

      (2)             Excellent. Performance on an individual
            critical element which markedly exceeds the
            performance requirements for Fully Successful.

      (1)        Fully Successful. Performance on an individual
            critical element of the job which completely meets,
            or exceeds to a limited degree, the performance
            requirements for Fully Successful established at the
            beginning of, or modified during, the rating period.

      (2)        Minimally Satisfactory. Performance on an
            individual critical element of the job which just
            falls short of the performance requirements for Fully
            Successful. Performance at this level shows
            significant deficiencies that require correction.



                              -38-
      Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 42 of 64




            (3)        Unsatisfactory. Performance on an individual
                  critical element of the job which is substantially
                  below the performance requirements for Fully
                  Successful. Usually the employee's performance will
                  show serious deficiencies in terms of quantity,
                  quality, timeliness of work, or manner of
                  performance.

      16.   INITIAL SUMMARY RATING.

      a.        The supervisor must develop an initial summary rating
      of the senior executive's performance, in writing, and share
      that rating with the senior executive.

      b.          The supervisor will assign an initial summary rating
                            level as follows:

            (1)   Outstanding. A majority of the critical elements
                  must be rated Outstanding; no critical element may be
                  rated less than Excellent.

            (2)   Excellent. A majority of the critical elements must
                  be rated Excellent or higher and no critical element
                  may be rated less than Fully Successful.

            (3)   Fully Successful. A majority of the critical
                  elements must be rated Fully Successful or higher; no
                  more than one critical element may be rated Minimally
                  Satisfactory.

            (4)   Minimally Satisfactory. More than one critical
                  element must be rated Minimally Satisfactory and no
                  critical element may be rated Unsatisfactory.

            (5)   Unsatisfactory. Performance in one or more critical
                  elements must be rated Unsatisfactory.

17.   RIGHT TO RESPOND IN WRITING AND REQUEST HIGHER LEVEL REVIEW.

      a.        Senior executives in the Department are entitled to
      one higher level review, unless the component provides for more
      than one review level.



                                    -39-
      Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 43 of 64




      b.        At the time of rating, the rating official shall
      advise the senior executive of his or her right to respond in
      writing to any aspect of the rating and to have that rating
      (along with the written response, if any) reviewed at a higher
      executive level, i.e., higher organizational level.

      c.        If the senior executive chooses to exercise his or
      her right to respond or seek higher level review, such response
      must be made to the rating official within 7 calendar days.

18.   HIGHER LEVEL REVIEW.

a.         After any initial discussions are completed and the
      written response, if any, to the initial summary rating is
      received, the rating official will, upon request of the
      executive, forward the completed rating form to the appropriate
      reviewing official (normally the next higher official in the
      supervisory chain) for the higher level review.

      b.         The higher level official cannot change the
      supervisor's initial summary rating, but may recommend a
      different rating to the PRB and the appropriate appointing
      authority.

      c.        Both the executive and the rating official must be
      given copies of the reviewer's findings and recommendations.

      d.        After the higher level review is completed, the
      appraisal package (the rating and accompanying documentation,
      including the higher level review’s comments and
      recommendation, if any) will be forwarded to a PRB for review.

      19.   PERFORMANCE REVIEW BOARD REVIEW.

      a.        The PRB must review the rating and comments from the
      senior executive and the higher level official, if any, and
      make recommendations to the appropriate appointing authority.

      b.        The PRB will consider the material forwarded and make
      a written recommendation to the appropriate appointing
      authority regarding the annual summary rating to be assigned as
      well as any related matters such as performance pay, basic pay
      rate adjustments, performance awards, reassignments, and


                                    -40-
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 44 of 64




removals. (See Appendix 1 for the Establishment and Functions
of the Department of Justice SES PRBs.)

20.   ANNUAL SUMMARY RATING.

a.        The appropriate appointing authority will make the
final decision in writing regarding the annual summary rating
to be assigned and related personnel recommendations after
considering any PRB recommendations.

b.        The annual summary rating approved by the appropriate
appointing authority is final and becomes the executive’s
official rating. Senior executive performance appraisals and
ratings are not appealable.

c.        One copy of the approved rating form must be provided
to the employee; another copy may be retained by the rating
official; and a third copy will be forwarded to the servicing
personnel office for retention in the Official Personnel File
(OPF) or Employee Performance File (EPF).

d.        Personnel actions resulting from the annual summary
rating must be promptly initiated by the rating official.


21.   DETAILS AND JOB CHANGES.

a.        Position Changes Within the Department. When an
executive occupies two or more positions in the Department
during the appraisal cycle (in which the executive served under
written elements and performance requirements for the minimum
appraisal period) an interim rating must be prepared. This
interim rating, along with the PWP upon which it was based,
must be forwarded to the new supervisor for inclusion in the
rating of record due at the end of the appraisal cycle. The
weight given to this interim rating should generally be
proportionate to its share of the appraisal period. When such
interim ratings are used to develop a rating of record, both
the interim ratings and the PWPs upon which they are based must
be attached to the final annual summary rating.

b.        Temporary Assignments Within the Department. If the
senior executive is detailed or temporarily reassigned WITHIN
the Department and if the assignment is expected to last the

                              -41-
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 45 of 64




minimum appraisal period or longer, written critical elements
and performance requirements MUST be provided to the employee
and an interim rating must be prepared based on the performance
during the assignment. The weight given to this interim rating
in preparing the rating of record should generally be
proportionate to its share of the appraisal period.

c.        Temporary Assignments Outside the Department. If the
employee is temporarily assigned OUTSIDE the Department,
reasonable efforts must be made to obtain appraisal information
from the outside organization which will be considered in
deriving the employee's next summary rating. Accordingly:

      (1)   If the employee has served in the Department for the
            minimum appraisal period, the employee must be rated.
            The rating of record shall take into account
            appraisal information obtained from the borrowing
            organization; or

      (2)   If the employee has not served IN the Department for
            the minimum appraisal period, but has served for the
            minimum appraisal period in a position OUTSIDE the
            Department, reasonable efforts must be made to
            prepare a rating of record using appraisal
            information obtained from the borrowing organization.

d.        Transfers From Other Agencies. If an employee
transfers from another agency into the Department during the
appraisal cycle, any interim or summary rating(s) which are
forwarded from the losing agency (and which encompass periods
of time included in the Department's appraisal cycle) MUST be
considered in deriving the rating of record. Weight given to
these ratings should be proportionate to their share of the
appraisal cycle.

e.        Transfers To Other Agencies. If an executive
transfers to a new agency at any time during the appraisal
period, a summary (interim) rating must be prepared by the
employee's supervisor and provided to the gaining agency.

22.   PROCESSING AND RETENTION OF PERFORMANCE RATINGS.




                              -42-
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 46 of 64




     a.        Control dates established by Departmental guidance
     must be adhered to in order to ensure the proper review of
     ratings by PRBs.

     b.        All performance related records must be maintained in
     either the OPF or EPF for no less than 5 years from the date
     the rating is issued.

     c.        The performance appraisals for the most recent 5
     years and the most recent PWP and interim rating will be
     forwarded as part of the OPF to a gaining agency upon an
     employee's transfer. (Note: The FBI is exempt from the
     requirement to release performance plans and appraisals.)

     23.   VALIDITY OF RATINGS.

     a.        Each final annual summary rating issued within a
     component of the Department (or other agency which is subject
     to the performance appraisal requirements of 5 U.S.C. chapter
     43, subchapter II) supersedes the previous one and is
     considered to be the valid rating of record.

b.        When a new SES employee enters on duty with the Department
     at any time during the appraisal period, the most recent annual
     summary rating rendered in the former agency will be recognized
     as the official rating of record until it is superseded by a
     rating of record issued under this plan.




                                   -43-
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 47 of 64




                                SECTION 3

      ACTIONS BASED ON LESS THAN FULLY SUCCESSFUL PERFORMANCE

24.   GENERAL.

a.        5 CFR § 430.306(a) requires that supervisors must
advise and assist employees in improving their performance.

b.        Any SES member receiving an Unsatisfactory rating
shall be reassigned or transferred within the SES or removed
from the SES. However, any SES member who receives two
Unsatisfactory ratings within any period of 5 consecutive years
shall be removed from the SES.

c.        A Minimally Satisfactory rating permits a year's
period to show improvement. However, any SES member who
receives two less than Fully Successful ratings within 3
consecutive years shall be removed from the SES.

d.        When an employee's performance falls below Fully
Successful (whether or not a formal appraisal has been given),
good personnel practice suggests that this determination should
trigger prompt action on the part of the supervisor to bring
the employee's performance up to an acceptable level or, if
warranted in the case when an employee is Unsatisfactory, to
begin steps leading to the placement of the employee in a job
he or she can successfully perform. Exactly what steps should
be taken depends on the circumstances of the case.

e.        Formal training, on-the-job training, counseling, and
closer supervision are common approaches to below par
performance problems. An organization has no justification,
however, for continuing to retain an employee whose performance
is Unsatisfactory after attempts to improve the employee's
performance or place him or her in another position fail.

25. PROCEDURES. Since performance appraisal is a continuous
process, the following procedures shall be followed at any time
during the year after the minimum appraisal period has been
completed when a supervisor concludes that the employee's
performance in one or more critical elements is below Fully
Successful.


                              -44-
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 48 of 64




a.    Discussion. There must be a discussion between the
      supervisor and the employee for the purpose of:
      (1)       Advising the employee of specific shortcomings
           between observed performance in the critical
           element(s) under scrutiny and the performance
           requirements associated with the particular
           element(s); and

      (2)        Providing the employee with a full opportunity
            to explain the observed deficiencies.

b.          Determine Appropriate Action.

      (1)        If the supervisor feels that the matter has been
            resolved to his or her satisfaction during the course
            of the discussion, the supervisor need not take
            further formal action at this point.

      (2)        If the supervisor of the senior executive feels
            that further action is necessary, he or she shall
            complete an appraisal and record his or her
            assessments on the rating form. The supervisor shall
            advise the senior executive of his or her right to
            respond in writing within 7 calendar days and of the
            action he or she is recommending with respect to the
            proposed Minimally Satisfactory or Unsatisfactory
            rating. The supervisor should also advise the senior
            executive of the review levels required before the
            rating and proposed action become final, i.e., a
            possible review by a higher level official, the PRB,
            and, ultimately, the Deputy Attorney General or
            component head as appropriate. The senior executive
            should also be advised that the rating and proposed
            action do not become final until the Deputy Attorney
            General’s/component head’s decision is made.

      (3)        If a first-time rating of Minimally Satisfactory
            is approved by the Deputy Attorney General/component
            head, it does not carry with it any legally mandated
            personnel action. However, as a practical matter,
            such a rating should carry with it a recommendation
            reflecting the marginal performance it represents.
            Recommended actions that the rating official may wish
            to consider include: (1) a reduction in SES pay

                              -45-
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 49 of 64




            (limited by OPM regulation to one level within a 12-
            month period); (2) additional training designed to
            correct the deficient performance; or (3)
            reassignment to another SES position.

      (4)            A career appointee may be reassigned to
      another SES position only if the appointee receives at
      least 15 days advance written notice for a reassignment
      within the commuting area and at least 60 days advance
      written notice for a reassignment outside the commuting
      area. The appointee may voluntarily waive the above
      notices. Such waivers must be in writing.

      (5)            If the Unsatisfactory rating is approved by
      the Deputy Attorney General/component head, the senior
      executive must be reassigned to a different position
      within the SES or removed from the SES in accordance with
      the provisions of 5 CFR Part 359, Subpart E.

             (i)        A career appointee may be removed from the
                   SES at any time prior to the completion of the
                   probationary period required under
                   5 U.S.C. § 3393. However, a career appointee
                   who has completed the probationary period and
                   whose removal from the SES for less than Fully
                   Successful executive performance is
                   contemplated is entitled, to a 30-day advance
                   written notice of such action (see
                   5 CFR § 359.502). In addition, upon request,
                   the career appointee shall be granted an
                   informal hearing before an official designated
                   by the Merit Systems Protection Board at least
                   15 days before the effective date of the
                   removal. At this time, the career appointee
                   may appear and present arguments. Such hearing
                   shall not give the career appointee the right
                   to initiate an action under 5 U.S.C. § 7701
                   (formal appellate procedure) nor need the
                   removal action be delayed as a result of the
                   granting of such hearing. A career appointee
                   who is removed from the SES for less than Fully
                   Successful performance is entitled to be placed
                   in a civil service position (other than an SES
                   position) in accordance with the provisions of

                              -46-
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 50 of 64




                   5 U.S.C. § 3594.

           (i)       The removal of an SES career appointee for
performance reasons is subject to the
               120-day moratorium, except for a removal based
                on an unsatisfactory rating given before the
                appointment of a new agency head or noncareer
                supervisor that initiated the action. This
                includes an optional removal based on one
                unsatisfactory rating, a mandatory removal
                based on two unsatisfactory ratings in 5 years,
                and a mandatory removal based on two less than
                fully successful ratings in 3 years when the
                second rating is an unsatisfactory rating.

      (6)            SES noncareer and limited appointees may be
      reassigned or removed from the SES at any time. Such SES
      members are not entitled to the procedures described in
      subparagraphs (b)(5) i-ii above. Regulations require that
      noncareer and limited appointees receive notice in writing
      before the effective date of a removal (See 5 CFR Part
      359, Subpart I.).




                              -47-
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 51 of 64




                     APPENDIX TO DOJ SES PMS PLAN

                 ESTABLISHMENT AND FUNCTIONS OF
                    THE DEPARTMENT OF JUSTICE
                  SES PERFORMANCE REVIEW BOARDS

1.   GENERAL. Under the provisions of 5 U.S.C. § 4314(c), each
agency is required to establish one or more SES Performance
Review Boards (PRBs) which shall review and evaluate the
initial appraisal of a senior executive's performance by
his/her supervisor, along with any response by the senior
executive or higher level review determination (if
appropriate), and make recommendations to the appointing
authority relative to the performance of the senior executive.
The appointing authority shall issue appraisals/ratings only
after considering the recommendations of a PRB.

2.   ESTABLISHMENT OF BOARDS. Component heads will jointly
establish one or more PRBs to review ratings and bonus
recommendations of the executives within their appointing
authority. There will be a sufficient number of PRBs
established to review, evaluate, and make recommendations with
respect to the individual performance of the senior executives
in the component.

3.    MEMBERSHIP.

a.        Each PRB is composed of three or more members. The
size of the PRB will depend upon the number of actions to be
reviewed.

b.        The Department establishes a standing PRB member list
comprised from Department career SES appointees Each year, the
Assistant Attorney General for Administration shall provide
updates to the list of new Department SES members that are
eligible to serve on standing PRBs. A PRB member’s name will
be published in the Federal Register before their service
begins. Those individuals on the list can serve until they
have left the SES. Executives from Federal Bureau of
Investigation and the Drug Enforcement Administration are
exempt from publishing their executive’s names for security
reasons, but can serve as members on any Department of Justice
PRB.

                              -48-
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 52 of 64




c.        The components have flexibility in determining who
from the list will serve on their PRB(s)(including the
chairperson).

d.        Members of PRBs are appointed in such a manner as to
assure consistency, stability, and objectivity in reviewing
performance appraisals.

e.          Members of each PRB shall:

      (1)   Be career SES members (or equivalent);

      (2)   Have current Fully Successful performance ratings or
            above;

      (3)   Consistently apply Department appraisal systems
            effectively in their respective organizations; and

      (4)   Possess a thorough knowledge and understanding of the
            performance appraisal system and other pertinent
            aspects of the SES.

f.        Appointees will not serve on the PRB reviewing the
actions of their own organizations. Accordingly, the
supervisory official who made or reviewed the initial appraisal
of an executive may not act as a member of the PRB considering
the appraisal of that subordinate executive. In addition, a
subordinate to an executive whose performance appraisal is
under review may not act as a member of the PRB with respect to
his or her superior. No senior executive may review his/her
own rating. A member of a PRB in conflict with the above will
remove himself or herself from action or consideration by the
PRB and such action/consideration will be accomplished by other
PRB members.

4.    FUNCTIONS.

a.        Each PRB shall review and evaluate the initial
appraisal and rating by the rating official of the senior
executive, the senior executive's written response (if any),
and the written comments of the reviewing official (if such
written comments were made), and any accompanying
recommendations for awards, bonuses, proposed corrective

                              -49-
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 53 of 64




actions, or the like. In its consideration of a case, a PRB
may call witnesses if it feels added clarification is needed.
Each PRB shall consider equity and consistency among the
ratings of executives as well as the accuracy, fairness, and
effectiveness of individual ratings. A primary goal of the
review is to ensure that final ratings above the Fully
Successful are awarded only to senior executives whose
performance fully justifies them. A PRB may review any aspect
of the appraisal process, including the critical elements and
performance requirements set for a senior executive prior to or
as adjusted (modified) during the performance appraisal period.

b.        PRB recommendations shall be in writing and shall be
submitted under signature of the PRB chairperson, along with
the proposed rating and accompanying documentation, to the
appropriate appointing authority. Where the PRB does not
concur with the initial appraisal or rating, or the record
shows employee or reviewing official disagreement with the
rating official's actions, the PRB’s recommendations shall be
supported by a written justification. No appraisal or rating
is final until the appropriate appointing authority takes final
action. As has been indicated earlier, a PRB is also
responsible for reviewing or making recommendations to the
appointing authority concerning individual performance actions
such as bonuses for career SES appointees or pay increases for
career and noncareer SES appointees.




                              -50-
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 54 of 64




             CHAPTER VII.    PAY FOR THE SENIOR EXECUTIVE SERVICE


A.   SALARY LEVELS for the SES are established as a function of
     personal qualifications, individual and organizational
     performance, and the duties and responsibilities of the
     position held by the senior executive, and DOJ guidance. The
     SES pay band has a floor equal to 120% of GS 15, step-1, and a
     ceiling of Executive Level II. During periods when the DOJ
     pay-for-performance system is not certified by the Office of
     Personnel Management and Office of Management and Budget, the
     payband will be limited to Executive Level III. Decisions
     affecting pay levels for those members in key executive
     positions must be confirmed by the Deputy Attorney General
     prior to being made final.

B.   SETTING INDIVIDUAL PAY RATES.

     1.    Initial Salary Level. The Director will establish an
           initial salary which reflects up to a 10% increase over
           pre-SES salary. In instances where a greater increase is
           warranted, the Director may seek a waiver from the Deputy
           Attorney General.

     2.    Pay Adjustments. The DOJ will conduct a salary review of
           all senior executives on at least an annual basis.
           Recommendations for merit based salary increases will be
           provided by the Director.

           a.    Lowering a senior executive's pay. A senior
                 executive's pay may be lowered as the result of poor
                 performance or conduct.

           b.    Pay Computation. To compute the hourly rate of an
                 SES employee, divide the annual rate by 2,087 (5 CFR
                 534.404).

           c.    Premium Pay. SES members are excluded from all forms
                 of premium pay, including overtime, Sunday and
                 holiday pay rates, night, standby, irregular and
                 hazardous duty differential, and compensatory time
                 off (5 U.S.C 5541(2)(xvii).

C.   AWARDS.

                                   -51-
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 55 of 64




1. Presidential Ranks. SES career appointees may be awarded
one of two Presidential ranks for sustained superior
performance, Distinguished Rank or Meritorious Rank. The
Director will receive recommendations for candidates for these
ranks from the Deputy Director and other high ranking heads of
offices and divisions. The recommendations take into account
an individual's performance over a period of three years in the
SES. The Director will forward recommendations to the Attorney
General who will make final nominations to the President.

The President may award to any SES career appointee nominated
by the Attorney General the rank of:

      a. Distinguished Executive for sustained extraordinary
      accomplishment, or

      b.   Meritorious Executive for sustained accomplishment.

     An SES appointee who receives a rank of either
Distinguished or Meritorious Executive shall not be entitled to
receive that same award during the following four years. A
Distinguished rank award winner cannot receive a performance
award in the same calendar year.

     A career SES member awarded a Distinguished or Meritorious
rank will receive a monetary award consistent with the
appropriate rank (5 U.S.C. §4507), currently 20% of basic pay
for Meritorious and 35% of basic pay for Distinguished. A
Distinguished rank may be awarded to no more than one percent
of the total number of SES members. A Meritorious rank may be
awarded to no more than five percent of the total number of SES
members.

2.    Performance Awards (Bonuses) may be paid to a limited
      number of executives who demonstrate exceptional
      performance in attaining organizational goals.
      Eligibility for performance bonuses is determined during
      the annual performance appraisal process. All career SES
      members rated at least Fully Successful in all critical
      elements may be recommended by the Director to the Deputy
      Attorney General for a performance award of between five
      and 20 percent of the senior executive's basic pay.
      Funding for performance awards granted in any fiscal year

                              -52-
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 56 of 64




           is based on three to ten percent of the aggregate salary
           of career appointees as of the end of the preceding fiscal
           year. A career SES member may receive only one such award
           for performance in a single year.

     3.    Incentive Awards. Incentive awards, including time-off,
           significant accomplishment, and on-the-spot awards
           recognize contributions resulting in tangible or
           intangible benefits or savings. These awards are designed
           to improve government efficiency, economy and
           effectiveness by motivating and rewarding employees for
           efforts which benefit the government. Senior executives
           are normally exempt from monetary Incentive Awards in lieu
           of their eligibility to receive performance awards as
           described in item #2, above. Executives remain eligible
           for recognition under the Suggestion, Director's Awards,
           and Attorney General's Awards Programs.

           a. Basis. Awards may be based on contributions such as
           suggestions, inventions, or special acts or service in the
           public interest connected with or related to official
           employment.

           b. Form of recognition. An incentive award may be either
           monetary or non-monetary. A non-monetary award could be
           in the form of a medal, certificate, plaque, citation,
           badge, or other similar item that has an award or honor
           connotation.

                c. Approval. Recommendations for executive
           Incentive Awards must be submitted in writing to the SES
           Board. Such recommendation must clearly identify the
           unusual nature of the accomplishment and why the
           achievement qualifies for recognition outside of the
           performance award process. In addition to approval by the
           SES Board, final concurrence/approval of the Director and
           the Department of Justice is also required.

D.   LIMITATION ON SALARY. The aggregate amount of pay that a
     member of the SES may receive during any calendar year may not
     exceed the salary limitation described in 5 U.S.C. §5307.
     Included in the determination of aggregate pay are: base pay;
     locality adjustment; recruitment and relocation bonuses;
     retention allowance; performance awards and rank awards. Any

                                   -53-
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 57 of 64




excess amount (excluding retention pay) will be paid in a lump
sum amount at the start of the next calendar year. Monies
received from bonuses, rank or performance awards are not
included in computing an SES member's retirement pay.




                              -54-
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 58 of 64




                     CHAPTER VIII.     EXECUTIVE DEVELOPMENT


A.   EXECUTIVE DEVELOPMENT PROGRAM. Employees will be provided
     progressive developmental opportunities prior to, and
     following, entry into the SES. The Director will ensure that
     funding and staffing, sufficient to support this policy, are
     available.

     1.    Program Management. Overall management of the SES
           development program will be provided by the SES Board.

     2.    Monitoring. The SES Board will have responsibility for
           establishing an executive development program. The
           program for SES incumbents will encompass developmental
           experiences which, through continuing short-term
           opportunities and periodic involvement in more extended
           programs, will:

           a. Help meet organizational needs for managerial
           improvements and increased productivity;

           b. Help the individual keep up to date in professional,
           technical, managerial, social, and political areas;

           c. Meet the need for intellectual and personal growth;
           and

           d. Include provisions for executive sabbaticals for
           carefully selected members. Members of SES will be
           responsible for continuing to develop their executive
           knowledge, skills, and abilities and for fostering the
           development of their subordinates.

B.   SABBATICALS. A sabbatical may be granted to any career
     appointee in the SES by the Director/Deputy Attorney General.
     Sabbaticals are granted to permit a career appointee to engage
     in study or uncompensated work experience which will contribute
     to the individual's development and effectiveness. A
     sabbatical may not exceed 11 months nor may it result in the
     loss of, or reduction in, pay or leave to which the career
     appointee is otherwise entitled. The Director or designee may
     authorize travel expenses and per diem allowances if these are
     deemed essential for the study or experience.

                                   -55-
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 59 of 64




1. Eligibility.      A sabbatical may not be granted to any career
appointee:

      a.    More than once in any ten year period;

      b.   Unless the appointee has completed seven years of
      service:

            (1)   In one or more positions in the SES;

            (2) In one or more positions in the civil service,
            the level of duties and responsibilities of which are
            equivalent to those of SES positions; or

            (3) In any combination of such positions except that
            not less than two of the seven years of service must
            be in SES; and

           c.   If the appointee is eligible for voluntary
      retirement with a right to an immediate annuity.

2.    Service Agreement. The career appointee accepting a
      sabbatical must agree to serve in the civil service upon
      the completion of the sabbatical for a period of two
      consecutive years. If the career appointee fails to meet
      this agreement (except for sufficient reason as determined
      by the Director/Deputy Attorney General or designee who
      granted the sabbatical), the appointee shall be liable to
      the United States for all expenses, including salary, of
      the sabbatical.

3.    Employment Provisions.      While an individual is on a
      sabbatical:

      a. The individual continues to receive his or her SES
      salary;

      b. The individual continues to earn leave and is charged
      for any leave taken; and

      c. The individual remains subject to the SES performance
      appraisal system, but should be evaluated against
      standards appropriate to activities involved in the

                              -56-
Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 60 of 64




      sabbatical. It would not be appropriate to award a bonus
      for performance during the sabbatical.




                              -57-
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 61 of 64




                     CHAPTER IX.    MISCELLANEOUS PROVISIONS


A.   TRAVEL EXPENSES of SES candidates may be paid by the FBI
     pursuant to the applicable provisions of the MAOP if these
     expenses are incurred incident to pre-employment interviews
     requested by the FBI.

B.   ANNUAL LEAVE accrued by individuals after entry into the SES is
     subject to a limit of 720 hours in accordance with Title 5
     U.S.C., Section 6304 as amended by Public Law 103-356,
     10/13/94. Any employee who became a member of the FBI SES
     prior to 10/13/94 may be entitled to an adjusted annual leave
     ceiling and should contact the PRAU or the Employee Benefits
     Unit.

          Effective October 31, 2004, the Workforce Flexibility Act
     of 2004 provides that all members of the FBI SES will accrue
     eight hours of annual leave per pay period regardless of their
     total number of years of federal service.

          When an employee moves into an SES appointment, any
          annual leave at the time of the move in excess of the
          employee's maximum accumulation level (normally 240 hours)
     is subject to forfeiture if not used by the beginning of the
     leave year immediately following entry into the SES, unless
     restored under conditions provided by 5 U.S.C. Section 6304(a)-
     (d). The annual leave which is not subject to forfeiture and
     the annual leave which accrues while serving in the SES are
     carried forward into subsequent leave years up to the limit of
     720 hours. Once the 720 hour limit is reached, any additional
     annual leave accrued must be used by the end of the leave year
     in which accumulated or forfeited, unless restored under
     conditions provided by 5 U.S.C., Section 6304(a)-(d).

          If an individual moves from an SES appointment to a non-
     SES appointment, any annual leave in excess of that which
     otherwise would be permitted remains to the individual's
     credit. Subsequently, if the individual uses more annual leave
     in a leave year than earned, the balance carried forward will
     become the new leave ceiling if it is still above the maximum
     limit permitted for the position.



                                   -58-
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 62 of 64




C.   LAST MOVE HOME EXPENSES. Individuals transferred to accept a
     position in the SES or SES members who are transferred in the
     interest of the Government from one official station to another
     for permanent duty during or after five years
     preceding retirement eligibility are authorized travel,
          transportation and moving benefits as provided in
     5 U.S.C. Sec 5724(a)(3).

D.   FURLOUGHS.

     1.    Definition. "Furlough" means placing a career appointee
           in a temporary status without duties and pay because of
           lack of work or funds or other nondisciplinary reason.

     2.    Short furloughs.

           a. A short furlough is one that will last for 30
           consecutive calendar days or less (or for 22 workdays or
           less if the furlough does not cover consecutive days)
           within a 12-month period beginning on the first day of the
           furlough.

           b. Competitive procedures are not required in selecting
           the SES appointees to be furloughed for short periods.
           Selections will be made for sound management reasons.

     3.    Long furloughs.

           a. A long furlough is one that will last for more than 30
           consecutive calendar days (or for more than 22 workdays if
           the furlough does not cover consecutive days) within a 12-
           month period beginning on the first day of the furlough.
           The furlough may not exceed one year.

           b. An SES appointee may be furloughed for more than 30
           days only when the FBI intends to recall the appointee to
           a duty status with pay within one year from the beginning
           of the furlough. A furlough shall not be used when the
           executive will have to be separated through a RIF action
           when the furlough terminates.

           c.   Competitive procedures, developed for competition for
           job retention under a RIF, will be used in selecting SES
           career appointees for long furloughs of more than 30 days.

                                   -59-
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 63 of 64




     4.    Notice requirements.

           a. The career appointee will be given written notice at
           least 30 calendar days before the effective date of the
           start of the furlough. The notice will include the
           following information:

           (1) The reasons for the decision to take the furlough
           action.

           (2) The expected duration and the effective dates of the
           furlough.

           (3) The basis for selecting the appointee for furlough
           when some, but not all, SES appointees in a given
           organizational unit are being furloughed.

           (4) The place where the appointee may inspect the
           regulations and records pertinent to the action.

     5.    Appeal Rights. An employee may appeal a furlough decision
           by writing to the Director within 20 days of the effective
           date of the furlough.

E.   TRAINING. Career appointees will be informed of the goals and
     objectives of the FBI SES. Additional training opportunities
     may be recommended by an executive's immediate superiors, the
     SES Board, or self initiated by the executive with approval of
     an immediate superior.

F.   REPORTS AND EVALUATION. The FBI will report to the Department
     of Justice such information, and take such corrective action,
     as the Attorney General may direct as a result of his/her
     oversight responsibilities.

G.    EXTENSION BEYOND MANDATORY RETIREMENT. The Attorney General
     has delegated to the Director of the FBI, the authority to
     grant exceptions to mandatory retirement for FBI law
     enforcement members of the SES. These exceptions may be
     granted to a limited number of individuals -- no more than 20
     individuals at any given time -- whose continued service would
     be in the public interest and promote the mission of the FBI.


                                   -60-
     Case 1:19-cv-02399-RDM Document 23-3 Filed 11/01/19 Page 64 of 64




     Any SES member who is a Special Agent and desires to extend
     his/her Bureau Service, must:

     1.   Approximately 18 months prior to mandatory retire-
     ment, make known their intentions in a memorandum to
     the Director. The memorandum must specify to what age
     or date the requestor desires to continue service, not
     to exceed age 60. Any employee considering this option
     is encouraged to discuss this matter fully with the
     Director.

     2.   The Director may furnish the senior executive's
     request along with his/her observations to the SES
     Board.

     3.   The SES Board will review all pertinent information and
     provide the Director with a recommendation at which
     time the Director will serve as the final authority          for
     approving/denying the request.

H.   RECORDS. Unless otherwise instructed by FBIHQ, all
     performance related documentation including, but not limited
     to, information maintained in any performance file or folder
     other than the employee’s official FBIHQ or Field Office
     Personnel File must be maintained for a period of one calendar
     year beyond the date the associated summary/initial/final
     rating is issued.




                                   -61-
